Case 3:16-cv-02748-ADC Document 1-8 Filed 09/29/16 Page 1 of 2

FEDERACION DE TIRO DE ARMAS CORTAS BH

¥ RIFLES DE PUERTO RICO “eee
P.O. BOX 9020008, San Juan, PR 00902-0008 PUFRTO RICO

Email: ftiropur@coqui-net QED

ao

1 de septiembre de 2016

A: Presidentes de clubes afiliados
24D)
De: Reihaldo Irizarry Rodriguez, Presidente

Asunto: Recomendaciones y advertencias a raiz de la reunion del Comité Ejecutivo
el 13 de agosto de 2016 en el Club de Tiro EI Naranjal, Inc. En Aguada

asurit : ilidad 2 una pata con aquelios que permaitan que se utilicen nuestros clubes de tiro al
4nco para realizar actividades dé entrenamiento tactico alguno. Aclaro, con responsabil
en las cuales €stamos relacionados? me ~ mae ponset tied, dos asuntos
Case 3:16-cv-02748-ADC Document 1-8 Filed 09/29/16 Page 2 of 2

plano personal como lo son las tradicionales (americanas ¢ internacionales), pero son meramente
de tiro al blanco.

2. Que aquellos clubes gue son utilizados por Agencias de Orden Publi Estatal o Federal) para sus
entrenamientos, academias y/o cualificaciones, éstas tienen una poliza ie res oe Ger con el
club por dicha utilizacion y lo releva de responsabilidad alguna;i a la fedéracion.

Finalmente, deseo expresar mi compromiso de hablar, personaimente, con aquellos presidentes de
los clubes mencionados para validar o desmentir las expresiones en cuestién y aprovechar para
orientarlos en aquellas dreas que sean necesarias para que coutinuemos protegiendo nuestro
deporte, nuestros clubes, sus oficiales y nuestra federacién.

Confiando que TODOS ustedes sabrén discemir en la toma de decisiones para que los postulados y

espiritu deportivo de sus clubes y nuestra federacién prevalezcan sobre cualquier interés singular que
quiera introducirse en nuestra organizacion. Asi nos ayude Dios.

2de2
